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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 11

AMYRIS, INC., et al.,1                                       Case No. 23-11131 (TMH)

                                 Debtors.                    (Jointly Administered)
                                                             Re: Docket No. 331

         DECLARATION OF ANDREW F. O’NEILL IN SUPPORT OF
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ APPLICATION FOR
ENTRY OF AN ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
    WHITE & CASE LLP AS COUNSEL EFFECTIVE AS OF AUGUST 28, 2023

                         I, Andrew F. O’Neill, pursuant to 28 U.S.C. § 1746, hereby declare that the

following is true and correct to the best of my knowledge, information, and belief:

             1.          I am a partner of the firm of White & Case LLP (“White & Case”), an international

law firm, which maintains offices for the practice of law in, among other locations, Chicago,

Illinois. I am a member in good standing of the Bar of the State of Illinois and the U.S. District

Court for the Northern District of Illinois and I have been admitted pro hac vice in connection with

the above-captioned cases. There are no disciplinary proceedings pending against me in any

jurisdiction.

             2.          I submit this second declaration (the “Second Declaration”) pursuant to sections

328(a) and 1103 of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local Rules

2014-1, 2016-1, 9013-1 in support of The Official Committee of Unsecured Creditors’ Application

for Entry of an Order Authorizing the Employment and Retention of White & Case LLP as Counsel




1
       A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
       place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
       Emeryville, CA 94608.


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Effective as of August 28, 2023 [D.I. 331] (the “Application”), filed by the Committee.2 My first

declaration was submitted as Exhibit B to the Application (the “First Declaration”).

             3.          On October 6, 2023, the Court entered an order approving the Application [D.I.

485] (the “Retention Order”).

             4.          To the extent that White & Case determines that any information disclosed herein

requires amendment or modification upon White & Case’s completion of further analysis or as

additional information becomes available to it, a supplemental declaration will be submitted to the

Court reflecting the same. Except as otherwise noted, I have personal knowledge of the matters

set forth herein.3

                                    Disclosure Regarding Former Law Clerks

             5.          Alonso Aquije is a White & Case law clerk in the firm’s Chicago office. Mr. Aquije

previously served as a law clerk to the Honorable Craig Goldblatt in the United States Bankruptcy

Court for the District of Delaware. Mr. Aquije’s service ended in September 2023, and on October

16, 2023, began employment with White & Case. I do not believe that Mr. Aquije’s connection

to Judge Goldblatt precludes White & Case from meeting the standard for retention of Committee

counsel under the Bankruptcy Code.

                                 Reaffirmation of Statement of Disinterestedness

             6.          Based on the foregoing, to the best of my knowledge and insofar as I have been

able to ascertain, (a) White & Case is a “disinterested person” within the meaning of

section 101(14) of the Bankruptcy Code, (b) White & Case holds no interest adverse under

section 1103(b) of the Bankruptcy Code, and (c) White & Case has no connection to the Debtors,


2
       Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Application.
3
       Certain of the disclosures herein relate to matters within the knowledge of attorneys or employees of White &
       Case and are based on information provided by them.

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their creditors, or other parties in interest, except as may be disclosed in the Application, the First

Declaration, or this Second Declaration. Accordingly, I respectfully submit that the requirements

for White & Case’s retention as attorneys for the Committee have been met.

          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge, information, and belief.


Dated: October 23, 2023
       Chicago, Illinois
                                                               Respectfully submitted,

                                                               /s/ Andrew F. O’Neill
                                                               Andrew F. O’Neill
                                                               Partner, White & Case LLP




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